
Roane, Judge.*
The court is of opinion, upon the testimony that the deed of March 1809, in the proceedings contained, from Win. B. Langhorneto Samuel Taylor, is fraudulent and void, so far as it respects tlie creditors of the said Langhornej but as the dower interest of Mrs. Langhorne in the tract of land conveyed to Thomas Hobson by the deed, also among the proceedings, is admitted to have been relinquished by her in consideration of the provision made for her and her children by the deed first mentioned; and as the fraud of her husband in relation to the said deed, if she participated in it, should not be imputed to her, by reason of her coverture, the court is further of opinion, upon the principles settled by the court in the case of Quarles v. Lacy,(c) that the *211provision made by the said deed should not he disturbed, so far as it does not exceed the value of the dower interest for which it was substituted.
Tiie decree is therefore to be reversed with coats, and the case is remanded in order to have that value ascertained; after which the injunction is to be perpetuated to the extent of that value, and dissolved for the residue.

 Cabell absent.


 4 Munf. 251,

